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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    ROBERT ROSS,                                       Case No. 19-cv-06669-JST
                                                       Plaintiff,
                                   8
                                                                                           ORDER VACATING HEARING
                                                v.
                                   9

                                  10    AT&T MOBILITY, LLC,                                Re: ECF No. 16
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is Defendant AT&T Mobility, LLC’s motion to dismiss. ECF No. 16.

                                  14   Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court finds the

                                  15   matter suitable for disposition without oral argument. The hearing on this matter, currently

                                  16   scheduled for February 12, 2020, is hereby VACATED.

                                  17          If, however, any party advises the Court in writing by no later than two days from the date

                                  18   of this order that most or all of the argument for its side will be conducted by a lawyer who has

                                  19   been licensed to practice law for five or fewer years, and who has not previously presented

                                  20   argument before this Court, then the Court will reschedule the hearing at a time that is convenient

                                  21   to all parties in order to provide that opportunity. Counsel shall confer with each other, and the

                                  22   party requesting the rescheduling of the hearing shall identify the upcoming available dates on the

                                  23   Court’s calendar at which all counsel are available for the hearing.

                                  24          IT IS SO ORDERED.

                                  25   Dated: February 3, 2020
                                                                                        ______________________________________
                                  26
                                                                                                      JON S. TIGAR
                                  27                                                            United States District Judge

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